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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Renee Giron
                                  Plaintiff,
v.                                                     Case No.: 1:22−cv−00075
                                                       Honorable Jorge L. Alonso
Subaru of America, Inc
                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, January 10, 2023:


        MINUTE entry before the Honorable Jorge L. Alonso: The Court has reviewed
Plaintiff's response concerning Defendant's motion to stay pending resolution of appeal
[47]. Defendant's opposed motion to stay pending resolution of appeal [44] is granted, as
Plaintiff has withdrawn her opposition. This case is stayed pending further order of the
Court. Motion hearing date of 1/11/23 is stricken. Notice mailed by Judge's staff (lf, )




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